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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                   ROCK HILL DIVISION
                                     CIVIL ACTION NO:    0:22-1505-SAL

MAQUITA HINSON,                                 )
                                                )
               Plaintiffs,                      )
                                                )
       vs.                                      )   DEFENDANTS FOOD LION, LLC AND
                                                )      DELHAIZE AMERICA, LLC’S
FOOD LION, LLC, d/b/a FOOD LION, and            )    ANSWERS TO LOCAL RULE 26.01
DELHAIZE AMERICA, LLC, d/b/a FOOD               )         INTERROGATORIES
LION,                                           )
                                                )
               Defendant.                       )

       The Defendant, Food Lion, LLC, answers the Court’s Local Rule 26.01, D.S.C.

Interrogatories as follows:

(A)    State the full name, address, and telephone number of all persons or legal entities
who may have a subrogation interest in each claim and state the basis and extent of said
interest.


Answer:         Defendant is not aware of any such parties.


(B)    As to each claim, state whether it should be tried jury or non-jury and why.


Answer:        Defendants submit that Plaintiff”s claims are legal in nature and should be tried to
               a jury.


(C)     State whether the party submitting these responses is a publicly owned company
and separately identify: (1) each publicly owned company of which it is a parent,
subsidiary, partner, or affiliate; (2) each publicly owned company which owns ten percent
or more of the outstanding shares or other indicia of ownership of the party; and (3) each
publicly owned company in which the party owns ten percent or more of the outstanding
shares.
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Answer:       Defendant Food Lion, LLC, is a wholly owned subsidiary of Delhaize America,
              LLC, 81.86% membership interests of which are owned by Lion US Participations
              S.à r.l., Luxembourg company and 18.14% membership interests of which are
              owned by Delhaize The Lion America, LLC, Delaware Limited Liability Company.

              Delhaize America, LLC is not publicly owned. It is an indirect wholly owned
              subsidiary of Koninklijke Ahold Delhaize N.V., the ultimate parent company of the
              organization, which is a Dutch publicly traded company.

(D)    State the basis for asserting the claim in the division in which it was filed (or the
basis of any challenge to the appropriateness of the division).


Answer:       The plaintiff filed this action in the Court of Common Pleas for York County,
              South Carolina, and it was removed to this Court.


(E)   Is this action related in whole or in part to any other matter filed in this District,
whether civil or criminal?


Answer:        It is not.


(F)    If the defendant is improperly identified, give the proper identification and state
whether counsel will accept service of an amended summons and pleading reflecting the
correct identification.


Answer:       Defendants are properly identified.

(G)    If you contend that some other person or legal entity is, in whole or in part, liable to
you or the party asserting a claim against you in this matter, identify such person or entity
and describe the basis of said liability.


Answer:       Defendants make no such contention at this time and specifically reserve the right
              to amend this response during the course of discovery.



                                 <Signature Page to Follow>
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                              TURNER, PADGET, GRAHAM & LANEY, P.A.

                               By:   ____/s/ Charles F. Moore    _____
                                     Charles F. Moore (ID# 7807)
                                     Post Office Box 1473
                                     Columbia, S.C. 29202
                                     Phone: (803) 227-4225
                                     Fax: (803) 400-1517
                                     Email: cmoore@turnerpadget.com

                                     ATTORNEYS FOR DEFENDANTS
May 11, 2022
